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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

TIMOTHY LOGAN,                                      )
                                                    )
       Plaintiff,                                   )
                                                    )
V.                                                  )     CIVIL ACTION NO. SA-24-CA-350-FB
                                                    )
MIDLAND MORTGAGE A DIVISION                         )
OF MIDFIRST BANK,                                   )
                                                    )
       Defendant.                                   )

               ORDER OF DISMISSAL WITH PREJUDICE AND JUDGMENT

       Before the Court is the parties’ Joint Stipulation of Dismissal With Prejudice, filed on April 19,

2024. (Docket no. 8). The parties stipulate that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(ii), all claims and causes of action asserted by Plaintiff against Defendant in this suit are

dismissed with prejudice.

       Accordingly, IT IS ORDERED, ADJUDGED and DECREED that, pursuant to the parties’ Joint

Stipulation of Dismissal With Prejudice (docket no. 8) signed by the parties and Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), all claims herein and the entire cause asserted by Plaintiff against Defendant

are DISMISSED WITH PREJUDICE.

       IT IS FINALLY ORDERED, ADJUDGED and DECREED that motions pending with the

Court, if any, are Dismissed as Moot and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 22nd day of April, 2024.


                                         _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE
